            8:18-cr-00314-JFB-SMB                Doc # 56      Filed: 02/07/19         Page 1 of 2 - Page ID # 76
AO 472 (Rev. 11/16), modified by NED (9/17)



                                        UNITED STATES DISTRICT COURT
                                              FOR THE DISTRICT OF NEBRASKA


UNITED STATES OF AMERICA,
                   v.                                                              Case No.    8:18CR314

OTIS BROWN, III,                                                       ORDER OF DETENTION PENDING TRIAL
                              Defendant


                                                  Part I - Eligibility for Detention

       Upon the
             ☒ Motion of the Government attorney pursuant to 18 U.S.C. § 3142(f)(1),
the Court held a detention hearing and found that detention is warranted.

      This order sets forth the Court’s findings of fact and conclusions of law, as required by 18 U.S.C. § 3142(i), in
addition to any other findings made at the hearing.
                             Part II - Findings of Fact and Law as to Presumptions under § 3142(e)
   ☒ B. Rebuttable Presumption Arises Under 18 U.S.C. § 3142(e)(3) (narcotics, firearm, other offenses): There is a
     rebuttable presumption that no condition or combination of conditions will reasonably assure the appearance of the
     defendant as required and the safety of the community because there is probable cause to believe that the defendant
     committed one or more of the following offenses:
         ☒ (2) an offense under 18 U.S.C. §§ 924(c), 956(a), or 2332b;

   ☒ C. Conclusions Regarding Applicability of Any Presumption Established Above


            ☒ The defendant has presented evidence sufficient to rebut the presumption, but after considering the
              presumption and the other factors discussed below, detention is warranted.
                                   Part III - Analysis and Statement of the Reasons for Detention
      If one were to find the defendant has presented evidence sufficient to rebut the presumption, after considering the
factors set forth in 18 U.S.C. § 3142(g) and the information presented at the detention hearing, the Court concludes that
the defendant must be detained pending trial because the Government has proven:
   ☒ By clear and convincing evidence that no condition or combination of conditions of release will reasonably assure
      the safety of any other person and the community.
   ☒ By a preponderance of evidence that no condition or combination of conditions of release will reasonably assure the
      defendant’s appearance as required.
In addition to any findings made on the record at the hearing, the reasons for detention include the following:
       ☒ Weight of evidence against the defendant is strong
       ☒ Subject to lengthy period of incarceration if convicted
       ☒ Prior criminal history
       ☒ Lack of stable employment
       ☒ Lack of stable residence
       ☒ Lack of significant community or family ties to this district
       ☒ The nature and circumstances of the offense charged.
       ☒ The current offense is a crime of violence.
                                                                                                                    Page 1 of 2
           8:18-cr-00314-JFB-SMB            Doc # 56       Filed: 02/07/19        Page 2 of 2 - Page ID # 77


        ☒ The current offense involves a controlled substance, firearm, explosive or destructive device.
        ☒ The nature and seriousness of the danger posed by the defendant’s release.

OTHER REASONS OR FURTHER EXPLANATION:

                                        Part IV - Directions Regarding Detention
The defendant is remanded to the custody of the Attorney General or to the Attorney General’s designated representative
for confinement in a corrections facility separate, to the extent practicable, from persons awaiting or serving sentences or
being held in custody pending appeal. The defendant must be afforded a reasonable opportunity for private consultation
with defense counsel. On order of a court of the United States or on request of an attorney for the Government, the person
in charge of the corrections facility must deliver the defendant to a United States Marshal for the purpose of an appearance
in connection with a court proceeding.

Date:                2/7/2019                                               s/ Susan M. Bazis
                                                                        United States Magistrate Judge




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